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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2023

UNITED STATES OF AMERICA
v.

ISAAC WESTBURY,

AARON JAMES,

ROBERT WESTBURY, and
JONAH WESTBURY,

Defendants.

CASE NO. 21-cr-605 (RC)

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b), and 2
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)
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SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, between approximately 2:42 p.m. to 2:44 p.m., within the
District of Columbia, AARON JAMES committed and attempted to commit an act to obstruct,
impede, and interfere with a law enforcement officer from the United States Capitol Police,
lawfully engaged in the lawful performance of his/her official duties incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, between approximately 4:17 p.m. to 4:30 p.m., within the
District of Columbia, ISAAC WESTBURY and AARON JAMES committed and attempted to
commit an act to obstruct, impede, and interfere with law enforcement officers from the United
States Capitol Police and Metropolitan Police Department, lawfully engaged in the lawful
performance of their official duties incident to and during the commission of a civil disorder which
in any way and degree obstructed, delayed, and adversely affected commerce and the movement
of any article and commodity in commerce and the conduct and performance of any federally
protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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COUNT THREE

On or about January 6, 2021, at or around 4:28 p.m., within the District of Columbia,
ISAAC WESTBURY and AARON JAMES, using a deadly and dangerous weapon, that is, a
riot shield, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), and any person assisting such an officer.and employee,
that is, Officer C.M., an officer from the Metropolitan Police Department, while such officer or
employee was engaged in or on account of the performance of official duties, and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another

felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon and
Aiding and Abetting, in violation of Title 18, United States Code, Sections 111(a)(1) and
(b), and 2)

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, ISAAC WESTBURY and
AARON JAMES did knowingly enter and remain in a restricted building and grounds, that is,
any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a riot shield.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
(b)(1)(A))
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COUNT FIVE

On or about January 6, 2021, in the District of Columbia, ROBERT WESTBURY and
JONAH WESTBURY did knowingly enter and remain in a restricted building and grounds, that
is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority

to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
COUNT SIX

On or about January 6, 2021, in the District of Columbia, ISAAC WESTBURY and
AARON JAMES did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions, and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a riot shield.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))

COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, ROBERT WESTBURY and
JONAH WESTBURY did knowingly, and with intent to impede and disrupt the orderly conduct

of Government business and official functions, engage in disorderly and disruptive conduct in and
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within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT EIGHT

On or about January 6, 2021, in the District of Columbia, ISAAC WESTBURY and
AARON JAMES did knowingly engage in any act of physical violence against any person and
property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was and
would be temporarily visiting, and, during and in relation to the offense, did use and carry a deadly
and dangerous weapon, that is, a riot shield.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and
(b)(1)(A))

COUNT NINE

On or about January 6, 2021, in the District of Columbia, ISAAC WESTBURY, AARON
JAMES, ROBERT WESTBURY, and JONAH WESTBURY willfully and knowingly engaged
in disorderly and disruptive conduct within the United States Capitol Grounds and in any of the
Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
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Section 5104(e)(2)(D))

COUNT TEN
On or about January 6, 2021, in the District of Columbia, ISAAC WESTBURY and
AARON JAMES willfully and knowingly engaged in an act of physical violence within the
United States Capitol Grounds and any of the Capitol Buildings.
(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,

United States Code, Section 5104(e)(2)(F))

COUNT ELEVEN

On or about January 6, 2021, in the District of Columbia, ISAAC WESTBURY, AARON
JAMES, ROBERT WESTBURY, and JONAH WESTBURY willfully and knowingly paraded,
demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,

United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
